Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17781 Page 1 of 17


    1   Todd A. Boock (SBN 181933)
    2    todd@bnsklaw.com
        Jill Ray Glennon (SBN 204506)
    3    jill@bnsklaw.com
    4   BROWN NERI SMITH & KHAN LLP
        11601 Wilshire Boulevard, Suite 2080
    5   Los Angeles, California 90025-0389
    6   Telephone: (310) 593-9890
        Facsimile: (310) 593-9980
    7

    8   James A. Lassart (SBN 040913)
         JLassart@mpbf.com
    9   Adrian G. Driscoll (SBN 095468)
   10    ADriscoll@mbpf.com
        MURPHY, PEARSON, BRADLEY &
   11   FEENEY
   12   580 California Street, Suite 1100
        San Francisco, California 94104-1001
   13   Telephone: (415) 788-1900
   14   Facsimile: (415) 393-8087
        Attorneys for Plaintiff/Counter-Defendant
   15   EPICENTRX, INC.
   16                       UNITED STATES DISTRICT COURT
   17              FOR THE SOUTHERN DISTRICT OF CALIFORNIA
   18
      EPICENTRX, INC., a Delaware                   Case No. 3:20-cv-01058-JO-DDL
   19 corporation,
                                                    Hon. Jinsook Ohta
   20                     Plaintiff/ Counter-       Magistrate: Hon. David D. Leshner
   21
                          Defendant,
                                                    PLAINTIFF AND COUNTER-
   22         v.                                    DEFENDANT EPICENTRX, INC.’S
                                                    FEDERAL RULE OF CIVIL
   23   COREY A. CARTER, M.D.,                      PROCEDURE 26(A)(3)(A)
                                                    DISCLOSURES
   24                     Defendant/Counter-
   25                     Claimant.

   26

   27

   28

                                                    1          EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                                 DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17782 Page 2 of 17


    1          Pursuant to Rule 26(A)(3)(a)(i)-(iii) of the Federal Rules of Civil Procedure,
    2   Plaintiff EpicentRx, Inc. provides the following disclosures of exhibits. These
    3   disclosures are based on information reasonably available at this time.
    4

    5    NUMBER                        DOCUMENT – Rule 26(A)(3)(a)(i)-(ii)

    6    1.             EpicentRx, Inc. Consulting Agreement dated March 1, 2018 (“2018

    7
                        Consulting Agreement”) between EpicentRx and Carter.
         2.             Employment Agreement dated April 17, 2019 between EpicentRx
    8
                        and Carter. (“2019 Employment Agreement”) and Proprietary
    9
                        Information and Inventions Agreement dated April 19, 2019 between
   10
                        EpicentRx and Carter (“PIIA”)
   11
         3.             Acknowledgement and Receipt of Employee Handbook, Executed
   12
                        June 1, 2019 by Corey A. Carter.
   13
         4.             EpicentRx Employee Handbook dated January, 2018.
   14
         5.             Report of Neptune Clinical Consulting, LLC. Dated January 21,
   15
                        2020. EPI080966-68.
   16
         6.             On November 13, 2019, email from Dr. Tony Reid to Dr. Carter.
   17
                        Carter Dep. Ex. 23
   18    7.             Written memorandum dated January 25, 2020. Caroen Decl. (Dkt.
   19                   80-1) Ex. F.
   20    8.             On January 31, 2020, email consenting to Dr. Tony Reid
   21                   appointment as President of EpicentRx, replacing Corey Carter.
   22                   EPI1312665-66.
   23    9.             Email dated February 1, 2020 from Carter to Dr. Reid. Carter Dep.
   24                   Ex. 24.
   25    10.            Minutes of Executive Committee Meeting dated April 22, 2020.
   26                   EPI348115-117.
   27    11.            Oral Report for Board Meeting Friday, May 8, 2020. EPI098635-37.
   28    12.            Carter Dep. Ex. 17.

                                                   2            EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                                  DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17783 Page 3 of 17


    1
        13.          Carter Dep. Ex. 18.
    2
        14.          Video files of recordings from Defendant’s office, reception and rear
    3
                     of office.
    4
        15.          Carter Dep. Ex. 19.
    5
        16.          Carter Dep. Ex. 20.
    6
        17.          Image of the recording device in Dr. Carter’s office. Carter Dep. Ex.
    7
                     18.
    8

    9

   10

   11

   12

   13

   14

   15
        18.          Image of the recording device in Dr. Carter’s office. Carter Dep. Ex.
   16
                     18.
   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28

                                               3            EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                              DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17784 Page 4 of 17


    1
        19.          Image of the recording device in Dr. Carter’s office. Carter Dep. Ex.
    2
                     18.
    3

    4

    5

    6

    7

    8

    9

   10

   11

   12

   13

   14   20.          Access log for key cards used to enter EpicentRx’s office. Stirn
   15                Decl. (Dkt. 250, Ex. A) Ex. 4.
   16   21.          Spreadsheet cross referencing calendar entries on EpicentRx’s server
   17                with EpicentRx’s keycard access logs. Stirn Decl. (Dkt. 250, Ex. A)
   18                Ex. 5.
   19   22.          Dottikon, NDA. EPI534029-33.
   20   23.          Prothex NDA. EPI250294-97.
   21   24.          Cambrex NDA. Caroen Decl. (Dkt. 240-3) Ex. 9.
   22   25.          FOSUN NDA. EPI246939.
   23   26.          Caroen Decl. (Dkt. 94-1) Ex. J.
   24   27.          Kevin Li Dep. Ex. 3.
   25
        28.          May 6, 2020, vote of no confidence. EPI534590-91.
   26
        29.          EpicentRx’s business records reflecting computer and other
   27
                     electronic devices provided to Carter. Stirn Decl. (Dkt. 18) Ex. A.
   28

                                                4            EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                               DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17785 Page 5 of 17


    1
        30.          EpicentRx’s business records reflecting computer and other
    2
                     electronic devices provided to Carter. Stirn Decl. (Dkt. 18) Ex. B.
    3
        31.          EpicentRx’s business records reflecting computer and other
    4
                     electronic devices provided to Carter. Stirn Decl. (Dkt. 18) Ex. C.
    5
        32.          EpicentRx’s business records reflecting computer and other
    6
                     electronic devices provided to Carter. Stirn Decl. (Dkt. 18) Ex. D.
    7
        33.          EpicentRx’s business records reflecting computer and other
    8
                     electronic devices provided to Carter. Stirn Decl. (Dkt. 18) Ex. E.
    9
        34.          Online list of over 30 online vendors purporting to manufacture and
   10
                     sell RRx-001. Oronsky Decl. (Dkt. 240-6) Ex. 1.
   11
        35.          Article dated May 28, 2020. Oronsky Decl. (Dkt. 80-2) Ex. G.
   12
        36.          Email dated November 2, 2016 from Jan Scicinski to Carter. Caroen
   13
                     Decl. ISO TRO Based on Newly Discovered Facts (Dkt. 80-1) Ex.
   14
                     D.
   15
        37.          L&D SOW 1. Boock Decl. (Dkt. 240-6) Ex. 7.
   16
        38.          L&D SOW 2. Boock Decl. (Dkt. 240-6) Ex. 8.
   17
        39.          April 10, 2020 email from L&D. L&D Dep. Ex. 6.
   18
        40.          April 11, 2020 email from Carter to A. Oronsky and K. Fusseis.
   19
                     Boock Decl. (Dkt. 240-7) Ex. 10.
   20
        41.          Email dated April 14, 2020 to L&D. EPI342635-37.
   21
        42.          Amended and Restated License Between Northrop Grumman
   22
                     Innovation Systems, Inc. ad EpicentRx, Inc. Reid Decl. (Dkt. 240-4)
   23
                     Ex. 4.
   24
                     Email dated February 11, 2021from Lou Cannizzo re Request to
   25
                     Discuss Important Item. Caroen Decl. (Dkt. 94-2) Ex. J.
   26
        43.          Hibbard Dep. Ex. 5.
   27
        44.          Carter Dep. Ex. 38.
   28

                                                5            EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                               DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17786 Page 6 of 17


    1
        45.          JRM Investigation Interview. CARTER 0004791-93
    2
        46.          JRM Investigation Interview. CARTER 0004794-95.
    3
        47.          JRM Investigation Interview of Tom Carey. CARTER 0004840-41.
    4
        48.          Document entitled, “Personal Guarantee.” Schutte Dep. Ex. 4.
    5
        49.          JRM Investigation Interview. CARTER 0004841-44.
    6
        50.          Document from JRM File. CARTER 0004918-19.
    7
        51.          Document from JRM File. CARTER0001052-54.
    8
        52.          Document from JRM File. CARTER 0001066-67.
    9
        53.          Document from JRM File. CARTER 0004796.
   10
        54.          May 4, 2020 email from Dr. Carter to A. Oronsky. Carter Dep. Ex.
   11
                     25.
   12
        55.          May 5, 2020 email from Arnold Oronsky to Dr. Carter. EPI110996.
   13
        56.          Vote of no confidence. EPI534590-91.
   14
        57.          PowerPoint presentation entitled, “Potential Misconduct.”
   15
                     EPI351454-59.
   16
        58.          Corey A. Carter M.D. Dep. Ex. 1
   17
        59.          Corey A. Carter M.D. Dep. Ex. 2
   18
        60.          Corey A. Carter M.D. Dep. Ex. 3
   19

   20
        61.          Corey A. Carter M.D. Dep. Ex. 4

   21
        62.          Corey A. Carter M.D. Dep. Ex. 5

   22   63.          Corey A. Carter M.D. Dep. Ex. 6

   23   64.          Corey A. Carter M.D. Dep. Ex. 7

   24   65.          Corey A. Carter M.D. Dep. Ex. 8
   25   66.          Corey A. Carter M.D. Dep. Ex. 9
   26   67.          Corey A. Carter M.D. Dep. Ex. 10
   27   68.          Corey A. Carter M.D. Dep. Ex. 11
   28   69.          Corey A. Carter M.D. Dep. Ex. 12

                                               6            EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                              DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17787 Page 7 of 17


    1
        70.          Corey A. Carter M.D. Dep. Ex. 13
    2
        71.          Corey A. Carter M.D. Dep. Ex. 14
    3
        72.          Corey A. Carter M.D. Dep. Ex. 15
    4
        73.          Corey A. Carter M.D. Dep. Ex. 16
    5
        74.          Corey A. Carter M.D. Dep. Ex. 21
    6
        75.          Corey A. Carter M.D. Dep. Ex. 22
    7
        76.          Corey A. Carter M.D. Dep. Ex. 24
    8
        77.          Corey A. Carter M.D. Dep. Ex. 26
    9
        78.          Corey A. Carter M.D. Dep. Ex. 27
   10
        79.          Corey A. Carter M.D. Dep. Ex. 28
   11
        80.          Corey A. Carter M.D. Dep. Ex. 29
   12
        81.          Corey A. Carter M.D. Dep. Ex. 30
   13
        82.          Corey A. Carter M.D. Dep. Ex. 31
   14
        83.          Corey A. Carter M.D. Dep. Ex. 32
   15
        84.          Corey A. Carter M.D. Dep. Ex. 33
   16
        85.          Corey A. Carter M.D. Dep. Ex. 34
   17

   18
        86.          Corey A. Carter M.D. Dep. Ex. 35

   19
        87.          Corey A. Carter M.D. Dep. Ex. 36

   20   88.          Corey A. Carter M.D. Dep. Ex. 37

   21   89.          Corey A. Carter M.D. Dep. Ex. 39

   22   90.          Corey A. Carter M.D. Dep. Ex. 40
   23   91.          Corey A. Carter M.D. Dep. Ex. 41
   24   92.          Christian Carter Dep. Ex. 1
   25   93.          Christian Carter Dep. Ex. 2
   26   94.          Christian Carter Dep. Ex. 3
   27   95.          Christian Carter Dep. Ex. 4
   28   96.          Christian Carter Dep. Ex. 5

                                               7         EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                           DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17788 Page 8 of 17


    1
        97.          Christian Carter Dep. Ex. 6
    2
        98.          Christian Carter Dep. Ex. 7
    3
        99.          Christian Carter Dep. Ex. 8
    4
        100.         Gail Carter Dep. Ex. 1
    5
        101.         Gail Carter Dep. Ex. 2
    6
        102.         Gail Carter Dep. Ex. 3
    7
        103.         Gail Carter Dep. Ex. 4
    8
        104.         Gail Carter Dep. Ex. 5
    9
        105.         Col. Jeremy Perkins Dep. Ex. 1
   10
        106.         Col. Jeremy Perkins Dep. Ex. 2
   11
        107.         Col. Jeremy Perkins Dep. Ex. 3
   12
        108.         Col. Jeremy Perkins Dep. Ex. 4
   13
        109.         Col. Jeremy Perkins Dep. Ex. 5
   14
        110.         Col. Jeremy Perkins Dep. Ex. 6
   15
        111.         Col. Jeremy Perkins Dep. Ex. 7
   16
        112.         Karissa Carter Dep. Ex. 1
   17

   18
        113.         Karissa Carter Dep. Ex. 2

   19
        114.         Sarah Hibbard Dep. Ex. 1

   20   115.         Sarah Hibbard Dep. Ex. 2

   21   116.         Sarah Hibbard Dep. Ex. 3

   22   117.         Sarah Hibbard Dep. Ex. 4
   23   118.         Sarah Hibbard Dep. Ex. 6
   24   119.         Sarah Hibbard Dep. Ex. 7
   25   120.         Sarah Hibbard Dep. Ex. 8
   26   121.         Sarah Hibbard Dep. Ex. 9
   27   122.         Sarah Hibbard Dep. Ex. 10
   28   123.         Sarah Hibbard Dep. Ex. 11

                                                 8       EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                           DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17789 Page 9 of 17


    1
        124.         Sarah Hibbard Dep. Ex. 12
    2
        125.         Jerald Schutte Dep. Ex. 1
    3
        126.         Jerald Schutte Dep. Ex. 2
    4
        127.         Jerald Schutte Dep. Ex. 3
    5
        128.         Jerald Schutte Dep. Ex. 5
    6
        129.         Jerald Schutte Dep. Ex. 6
    7
        130.         Jerald Schutte Dep. Ex. 7
    8
        131.         Jerald Schutte Dep. Ex. 8
    9
        132.         Jerald Schutte Dep. Ex. 9
   10
        133.         Jerald Schutte Dep. Ex. 10
   11
        134.         Jerald Schutte Dep. Ex. 11
   12
        135.         Jerald Schutte Dep. Ex. 12
   13
        136.         Kevin Li Dep. Ex. 1
   14
        137.         Kevin Li Dep. Ex. 2
   15
        138.         Kevin Li Dep. Ex. 4
   16
        139.         Kevin Li Dep. Ex. 5
   17

   18
        140.         Kevin Li Dep. Ex. 6

   19
        141.         Kevin Li Dep. Ex. 7

   20   142.         Kevin Li Dep. Ex. 8

   21   143.         Kevin Li Dep. Ex. 9

   22   144.         Kevin Li Dep. Ex. 10
   23   145.         Kevin Li Dep. Ex. 11
   24   146.         Kevin Li Dep. Ex. 12
   25   147.         Kevin Li Dep. Ex. 13
   26   148.         Kevin Li Dep. Ex. 14
   27   149.         Kevin Li Dep. Ex. 15
   28   150.         Kevin Li Dep. Ex. 16

                                                  9      EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                           DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17790 Page 10 of 17


     1
         151.         Kevin Li Dep. Ex. 17
     2
         152.         Kevin Li Dep. Ex. 18
     3
         153.         Kevin Li Dep. Ex. 19
     4
         154.         Kevin Li Dep. Ex. 20
     5
         155.         Kevin Li Dep. Ex. 21
     6
         156.         Kevin Li Dep. Ex. 22
     7
         157.         Kevin Li Dep. Ex. 23
     8
         158.         Kevin Li Dep. Ex. 24
     9
         159.         Kevin Li Dep. Ex. 25
    10
         160.         Kevin Li Dep. Ex. 26
    11
         161.         Kevin Li Dep. Ex. 27
    12
         162.         Kevin Li Dep. Ex. 28
    13
         163.         Kevin Li Dep. Ex. 29
    14
         164.         Dan Ripley Dep. Ex. 1
    15
         165.         Dan Ripley Dep. Ex. 2
    16
         166.         Dan Ripley Dep. Ex. 3
    17

    18
         167.         Dan Ripley Dep. Ex. 4

    19
         168.         Dan Ripley Dep. Ex. 5

    20   169.         Dan Ripley Dep. Ex. 6

    21   170.         Dan Ripley Dep. Ex. 7

    22   171.         L&D Dep. Ex. 1
    23   172.         L&D Dep. Ex. 2
    24   173.         L&D Dep. Ex. 3
    25   174.         L&D Dep. Ex. 4
    26   175.         L&D Dep. Ex. 5
    27   176.         L&D Dep. Ex. 6
    28   177.         L&D Dep. Ex. 7

                                              10         EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                           DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17791 Page 11 of 17


     1
         178.         L&D Dep. Ex. 8
     2
         179.         L&D Dep. Ex. 9
     3
         180.         Genentech Dep. Ex. 1
     4
         181.         Genentech Dep. Ex. 2
     5
         182.         Genentech Dep. Ex. 3
     6
         183.         Genentech Dep. Ex. 4
     7
         184.         Genentech Dep. Ex. 5
     8
         185.         Genentech Dep. Ex. 6
     9
         186.         Genentech Dep. Ex. 7
    10
         187.         Genentech Dep. Ex. 8
    11
         188.         Genentech Dep. Ex. 9
    12
         189.         Genentech Dep. Ex. 10
    13
         190.         Genentech Dep. Ex. 11
    14
         191.         Genentech Dep. Ex. 12
    15
         192.         Genentech Dep. Ex. 13
    16
         193.         Genentech Dep. Ex. 14
    17

    18
         194.         Genentech Dep. Ex. 15

    19
         195.         Genentech Dep. Ex. 16

    20   196.         Genentech Dep. Ex. 17

    21   197.         Genentech Dep. Ex. 18

    22   198.         Genentech Dep. Ex. 19
    23   199.         Genentech Dep. Ex. 20
    24   200.         Genentech Dep. Ex. 21
    25   201.         Genentech Dep. Ex. 22
    26   202.         Genentech Dep. Ex. 23
    27   203.         Genentech Dep. Ex. 24
    28   204.         Corey A. Carter M.D.’s Responses to EpicentRx’s Interrogatories

                                               11           EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                              DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17792 Page 12 of 17


     1
         205.         Corey A. Carter M.D.’s Verification for Responses to Interrogatories
     2
         206.         Corey A. Carter M.D.’s Responses to Requests for Admission
     3
         207.         Corey A. Carter M.D.’s Verification for Responses to Requests for
     4
                      Admission
     5
         208.         Expert Report of Duross O’Bryan, including exhibits and documents
     6
                      referenced thereto
     7
         209.         Expert Report of Paul Connolly, including exhibits, documents
     8
                      referenced thereto and Laykin Declarations
     9
         210,         Transcript of Deposition of Duross O’Bryan (not provided as of this
    10
                      writing)
    11
         211.         Transcript of Deposition of Paul Connolly (not provided as of this
    12
                      writing)
    13
         212.         Documents produced by Defendant expert Brian Bergmark (more
    14
                      than one thousand pages produced the date of this writing)
    15
         213.         Video from cameras inside of Defendant’s office
    16
         214.         All exhibits referenced in EpicentRx’s moving and reply papers in
    17
                      support of its Motions for Summary Judgment; and Opposition
    18
                      papers filed as to Defendant’s Motion for Summary Judgment
    19
         215.         Discovery responses and discovery documents produced by Gail
    20
                      Carter
    21
         216.         Naval investigation documents produced by Gail and Corey Carter
    22
         217.         Photographs from Defendant’s MacBook Pro taken by iPhone 7 Plus
    23
         218.         Text messages and emails produced by Sarah Hibbard
    24
         219.         Transcript of Deposition of Lohman & Dehner and exhibits thereto
    25
         220.         Declarations of Lohman & Dehner, Regan Lohman, Daniel Dehner
    26

    27
                      and Shannon Whitman

    28
         221.         Exhibits to transcript of deposition of Genentech

                                                12           EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                               DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17793 Page 13 of 17


     1

     2                           F.R.C.P. 26(A)(3)(a)(i) – Witnesses
     3            NAME                         LIKELY TO CALL AT TRIAL
     4   Corey A. Carter, M.D.      Yes
     5   Defendant
     6   Karissa Bland Carter       Yes
     7   Defendant

     8
         Dan Dehner/Lohman &        Yes
         Dehner
     9
         Contact info known to
    10
         Defendant
    11
         Regan Lohman/Lohman        Maybe
    12
         & Dehner
    13
         Contact info known to
    14
         Defendant
    15
         Daniel Ripley              Yes
    16
         Contact info known to
    17
         Defendant
    18   Kevin Li                   Maybe
    19   Contact info known to
    20   Defendant
    21   Genentech representative Maybe
    22   Contact info known to
    23   Defendant
    24   Scott Caroen, EpicentRx Yes
    25   Meaghan Stirn,             Yes
    26   EpicentRx
    27   Bryan Oronsky, M.D.,       Yes
    28   Ph.D., EpicentRx

                                                 13           EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                                DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17794 Page 14 of 17


     1
         Tony Reid, M.D.,           Yes
     2
         EpicentRx
     3
         Franck Brinkhaus, M.D., Maybe
     4   Ph.D., EpicentRx
     5   Allison Pratt, EpicentRx   Maybe
     6   HR Lead
     7   Maggie Neptune             Maybe
     8   Contact info known to
     9   Defendant
    10   Nando Carbonel,            Yes
    11   EpicentRx IT Lead
    12   Paul Connolly, expert      Yes
    13   Contact info known to
    14   Defendant

    15   Duross O’Bryan, expert     Yes

    16
         Contact info known to
         Defendant
    17
         Jerald G. Schutte          Yes
    18
         Contact info known to
    19
         Defendant
    20
         Erica Burbano              Maybe
    21
         Contact info known to
    22
         Defendant
    23
         Gina Varner                Maybe
    24
         Contact info known to
    25
         Defendant
    26   Nacer Abrouk               Yes
    27

    28

                                             14          EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                           DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17795 Page 15 of 17


     1
         Contact info known to
     2
         Defendant
     3
         Sarah Hibbard                Yes
     4   Contact info known to
     5   Defendant
     6   Gail Pandes Carter           Maybe
     7   Contact info known to
     8   Defendant
     9   Christian Carter             Maybe
    10   Contact info known to
    11   Defendant
    12   Norm Barnes                  Maybe
    13   Contact info known to
    14   Defendant

    15   Tim Eisen                    Maybe
         Contact info known to
    16
         Defendant
    17
         Elisa Insel                  Maybe
    18
         Contact info known to
    19
         Defendant
    20
                       F.R.C.P. 26(A)(3)(ii) – Deposition Testimony and/or Video
    21
                                               NAME
    22
         Corey Carter, Defendant
    23
         Karissa Bland Carter
    24
         Gail Pandes Carter (maybe)
    25
         Christian Carter (maybe)
    26
         Kevin Li
    27
         Daniel Ripley (maybe)
    28

                                                  15           EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                                 DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17796 Page 16 of 17


     1
          Jeremy Perkins (maybe)
     2
          Maggie Neptune
     3
          Allison Pratt
     4

     5
               EpicentRx has provided, to the best of its knowledge and ability at this time,
     6
         complete accurate information regarding documents and witnesses that EpicentRx
     7
         may use to support its claims. EpicentRx expressly reserves the right to
     8   supplement this list with additional documents and/or witnesses, and/or delete
     9   documents and/or witnesses from this list.
    10

    11   Dated: September 15, 2023           Respectfully submitted,
    12

    13                                       By:      /s/ Todd A. Boock
                                                      Todd A. Boock
    14
                                             Todd A. Boock
    15                                       todd@bnsklaw.com
                                             BROWN NERI SMITH & KHAN LLP
    16                                       11601 Wilshire Boulevard, Suite 2080
                                             Los Angeles, California 90025-0389
    17
                                             Attorneys for Plaintiff and Counter-Defendant
    18                                       EPICENTRX, INC.

    19

    20

    21

    22

    23

    24

    25

    26

    27

    28

                                                   16             EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                                    DISCLOSURES
Case 3:20-cv-01058-JO-DDL Document 348 Filed 09/15/23 PageID.17797 Page 17 of 17


     1                            CERTIFICATE OF SERVICE
     2

     3         I hereby certify that, on September 15, 2023, I electronically served a copy
     4   of the foregoing:
     5
         PLAINTIFF AND COUNTER-DEFENDANT EPICENTRX, INC.’S
     6
         FEDERAL RULE OF CIVIL PROCEDURE 26(A)(3)(A) DISCLOSURES
     7

     8   on Defendant/Counterclaimant’s counsel of record at:
     9

    10 Guy A. Ricciardulli
       Attorney at Law
    11
       12396 World Trade Drive, Suite 202
    12 San Diego, California 92128
       Telephone: (858) 487-8006
    13
       E-mail: gricciardu@aol.com
    14

    15

    16         I certify under penalty of perjury that the foregoing is true and correct.
    17   Executed on September 15, 2023.
    18

    19                                                   /s/ Todd A. Boock
    20                                                   Todd A. Boock
    21

    22

    23

    24

    25

    26

    27

    28

                                                    17            EPICENTRX’S RULE 26(A)(3)(a)(i)-(iii)
                                                                                    DISCLOSURES
